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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
        UNITED STATES OF AMERICA,
                                                                  MEMORANDUM & ORDER
                       -against-                                  18-CR-00681 (NGG) (CLP)
        MANUEL CHANG,
                                    Defendant.


              NICHOLAS G. GARAUFIS, United States District Judge.
              Now before the court is the Government’s motion to quash
              twenty Rule 17(c) subpoenas that the Defendant has served on
              various Department of Justice (“DOJ”) employees and the De-
              fendant’s response. (Gov’t Mot to Quash Subpoenas (“Mot.”)
              (Dkt. 685); see also Def. Opp. (Dkt. 687).) For the reasons dis-
              cussed below, the motion is GRANTED in part and DENIED in
              part.

              I.   BACKGROUND

              Trial in this matter began on July 16, 2024, and is well under-
              way. On July 8, 2024, the Clerk of Court signed and issued
              twenty-one 1 subpoenas that Defendant Chang has served on a
              number of DOJ employees, namely fourteen Special Agents, an
              FBI Forensic Accountant, two FBI Forensic Examiners, and an FBI
              Assistant Legal Attaché, as well as two members of the New York
              Police Department (“NYPD”). (See Mot., Ex. A.) On July 10,
              2024, following an inquiry from the Defense as to whether such
              employees are covered by the Touhy regulations, the court issued
              an Order concluding that the regulations apply to FBI agents.
              (Mem. & Order dated 7/10/2024 (Dkt. 663) at 4 (citing 28
              C.F.R. § 16.23(c)).) The court further ordered the Defense to

              1 Prior to the filing of this motion, Defense counsel withdrew the subpoena

              for Jeffrey Olson, Director of the Office of International Affairs. Accord-
              ingly, the motion to quash his subpoena is DENIED as moot.




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              comply with these regulations, including by setting forth a sum-
              mary of the testimony sought. (Id.) Defendant has provided
              Touhy statements for four of the twenty subpoenaed witnesses
              but has not withdrawn the others.

              II. LEGAL STANDARD

              Rule 17(c) of the Federal Rules of Criminal Procedure provides
              that “[a] subpoena may order the witness to produce any books,
              papers, documents, data, or other objects the subpoena desig-
              nates.” Fed. R. Crim. P. 17(c). The Rule further provides that
              upon motion, a court “may quash or modify the subpoena if com-
              pliance would be unreasonable or oppressive.” Fed. R. Crim. P.
              17(c)(2). Although Rule 17(c) applies by its terms only to sub-
              poenas duces tecum, “courts have repeatedly, when the interest
              of justice have so warranted, heard and granted (and denied)
              motions to quash subpoenas to compel testimony.” United States
              v. Goldstein, No. 21-CR-550 (DC), 2023 WL 3662971, at *5
              (E.D.N.Y. May 25, 2023).2

              III. DISCUSSION

              The Government seeks to quash all twenty subpoenas on three
              grounds: (1) failure to comply with Touhy; (2) improperly put-
              ting the Government on trial; and (3) refusing to identify the
              prior statements the Defendant intends to introduce through the
              FBI agents. (Mot. at 1.) In response, the Defendant clarified that,
              at this time, he only seeks to compel testimony from the four wit-
              nesses for whom he has provided Touhy declarations. (Def. Opp.
              at 1.) However, the Defense has not withdrawn the remaining
              subpoenas because testimony from these FBI and NYPD employ-
              ees may become relevant depending on the testimony elicited by



              2 When quoting cases, unless otherwise noted, all citations and internal

              quotation marks are omitted, and all alterations are adopted.




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              the Government’s final remaining witnesses. (See generally Def.
              Opp.)
              The Government first seeks to quash sixteen of the subpoenas for
              failing to comply with Touhy regulations. (Mot. at 4.) This court
              previously ruled that “[s]hould the Defense seek to elicit testi-
              mony from any FBI agent involved in this matter, it must follow
              the Touhy regulations . . . for each FBI agent.” (Mem. & Order
              dated 7/10/2024 at 4 (citing 28 C.F.R. § 16.23(c)).)3 In particu-
              lar, the court noted the requirement to set forth a brief summary
              of the testimony sought. (Id.)
              In a criminal prosecution, the defense has a right to put before
              the jury evidence that might influence the determination of evi-
              dence and the corresponding right to obtain evidence. United
              States v. Tucker, 249 F.R.D. 58, 65 (S.D.N.Y. 2008), as amended
              (Feb. 20, 2008). This right applies even when the Government
              may invoke privilege over certain documents or testimony in
              other types of proceedings, as recognized by the Supreme Court
              in Touhy. See U.S. ex rel. Touhy v. Ragen, 340 U.S. 462, 467
              (1951) (citing United States v. Andolschek, 142 F.2d 503 (2d Cir.
              1944)); United States v. Reynolds, 345 U.S. 1, 12, (1953) (“The
              rationale of the criminal cases is that, since the Government
              which prosecutes an accused also has the duty to see that justice
              is done, it is unconscionable to allow it to undertake prosecution
              and then invoke its governmental privileges to deprive the ac-
              cused of anything which might be material to his defense.”);

              3 The Defendant subpoenaed federal agents and one local official of the

              NYPD. (See Shawn Russell Subpoena, Mot. Ex A. at ECF 34-35.) Touhy
              applies only to Department of Justice officials. See 28 C.F.R. § 16.21. How-
              ever, the focus is ultimately on whether compliance is unreasonable or
              oppressive, and given the large number of subpoenas the Defense issued
              and the Defendant’s noting in its response that the Defense “do[es] not
              need the testimony of agents who did not work on matters that will not be
              addressed by the government’s remaining witnesses,” (Def. Opp. at 10),
              the court considers the sixteen subpoenas together.




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              United States v. Aref, 533 F.3d 72, 79 (2d Cir. 2008). And while
              the Government can gather evidence through the use of grand
              jury subpoenas and working relationships with agencies far in
              advance of trial, “defendants will virtually always be outmatched
              in investigatory resources, funds, and time to prepare for litiga-
              tion.” Tucker, 249 F.R.D. at 64. Equality or symmetry between
              the Government and Defense is not required by the Constitution;
              rather, the question in the context of quashing a subpoena is
              whether the subpoena is “necessary to permit the defendant to
              raise a defense.” Id. at 65.
              Compliance with Touhy regulations, however, permits the court
              to conduct the appropriate review of reasonableness in consider-
              ing the subpoenas and whether testimony is necessary for the
              Defendant to raise a defense or is irrelevant. See United States v.
              Duncan, No. 18-CR-289 (SHS), 2019 WL 2210663 (S.D.N.Y. May
              22, 2019) (precluding testimony in part because such evidence
              was irrelevant after considering the evidence described in a
              Touhy letter.)
              As noted, the Defense has not provided statements for sixteen
              subpoenaed witnesses. The Government’s motions to quash the
              sixteen subpoenas where the Defense has not complied with this
              court’s order requiring Touhy declarations are therefore
              GRANTED because they are unreasonable absent any infor-
              mation of the nature of the testimony sought and its materiality
              to the Defense. However, there remains the possibility that the
              FBI agents’ or law enforcement officers’ testimony becomes nec-
              essary, which is why they have not withdrawn these subpoenas.
              (Def. Opp. at 10.) Accordingly, if evidence presented in the re-
              mainder of the Government’s case raises issues such that the
              Defendant’s case requires testimony from one or more agents for
              whom the subpoenas were quashed, the Defendant may renew
              the relevant subpoenas as soon as practicable, with a summary




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              of the sought after testimony under Touhy submitted directly to
              the undersigned district court judge.
              As to the four remaining subpoenas, the Defendant provided the
              required summaries for these witnesses: Special Agents Tassone,
              Haque, and Binder, on July 24, 2024; and Special Agent
              Adediran, on July 26, 2024.
              The Government seeks to quash the subpoenas for these agents
              because the Defendant “refuses to identify the prior inconsistent
              statements he seeks to introduce through the FBI agents.” (Mot.
              at 7.) However, the Government points to no authority requiring
              that the Defendant specify the exact inconsistent statements
              made in order to seek testimony of an FBI agent. Nor do the
              Touhy regulations require more than a summary of the testimony
              sought. See 28 C.F.R. § 16.23(c).
              Upon review of the declarations that have been provided, the
              court finds that the declarations for Special Agents Babatunde,
              Haque, and Tassone, sufficiently identify the testimony sought
              and the context surrounding said testimony. (See Mot., Exs. C &
              E) The original declaration for Special Agent Binder was not suf-
              ficiently precise, (see Mot., Ex. B), but the details provided in the
              Defense’s brief in opposition to the Government’s motion cured
              any defects in the initial declaration. Accordingly, the Govern-
              ment’s motion to quash these subpoenas are DENIED.
              Finally, the Government also moves to quash all twenty subpoe-
              nas on the basis that they improperly seek “irrelevant and
              inadmissible evidence.” (Mot. at 5.) Specifically, the Government
              contends that the Touhy declarations that the Defense has pro-
              vided, coupled with Defense counsel’s statements at the end of
              trial on Thursday, July 25, 2024, make clear that the Defense
              intends to challenge the thoroughness of the Government’s in-
              vestigation in this case. (Id. at 6.)




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              As this court previously relayed to the jury, the Government is
              not on trial in this case, and the jury will not be asked to deter-
              mine the adequacy of the Government’s investigation. Indeed,
              “[t]he failure to utilize some particular technique or techniques
              does not tend to show that a defendant is not guilty of the crime
              with which he has been charged.” United States v. Carton, No. 17-
              CR-680 (CM), 2018 WL 5818107, at *3 (S.D.N.Y. Oct. 19, 2018).
              (See also Trial Transcript dated 7/24/2024 at 1406:23.)
              Should the Defense attempt to challenge the adequacy of the
              Government’s investigation through Government or law enforce-
              ment witnesses, it will be precluded from doing so. However, the
              court declines to broadly quash all subpoenas without first hav-
              ing the opportunity to hear the testimony elicited at trial. The
              Government is free to object to the extent the testimony becomes
              irrelevant or prejudicial under Rule 403.




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                 IV. CONCLUSION

                 For the reasons discussed in this Memorandum and Order, the
                 Government’s motion to quash is GRANTED in part and DENIED
                 in part. The motion to quash as to Special Agents Adediran,
                 Haque, Tassone and Binder is DENIED. The motion to quash the
                 remaining sixteen subpoenas for whom declarations were not
                 provided is GRANTED. If the Government presents evidence in
                 the remainder of its case that the Defense believes raises issues
                 that would require testimony from an agent that is not already
                 under the court’s jurisdiction, it may seek to renew the subpoena
                 as soon as practicable and directly with the undersigned.
        SO ORDERED.


        Dated:      Brooklyn, New York
                    July 28, 2024

                                                            _/s/ Nicholas G. Garaufis_
                                                            NICHOLAS G. GARAUFIS
                                                            United States District Judge




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